446 F.2d 904
    Ralph STELL et al., Plaintiffs-Appellants, United States ofAmerica, Plaintiff-Intervenor-Appellee,v.The BOARD OF PUBLIC EDUCATION FOR the CITY OF SAVANNAH ANDthe COUNTY OF CHATHAM et al.,Defendants-Appellees, Darnell Brawner etal., Defendants-Intervenors-Appellees.
    No. 71-2380.
    United States Court of Appeals, Fifth Circuit.
    Aug. 23, 1971, Rehearing Denied Aug. 31, 1971.
    
      Bobby L. Hill, E. H. Gadsden, Savannah, Ga., Norman J. Chachkin, Jack Greenberg, New York City, Martin Buckley, Educational Section, Civil Rights Division, U.S. Dept. of Justice, David Norman, Acting Asst. Atty. Gen., Brian K. Landsberg, Washington, D.C., for plaintiffs-appellants.
      Malcolm Maclean, Connerat, Dunn, Hunter, Houlihan, Maclean &amp; Exley, P.C., Savannah, Ga., Arnold C. Young, Charles A. Edwards, Savannah, Ga., for Board of Public Education et al.
      Owen Page, Savannah, Ga., for Brawner et al.
      Before THORNBERRY, MORGAN and CLARK, Circuit Judges.
    
    BY THE COURT:
    
      1
      It is ordered that appellants' motion for summary reversal of the District Court's order of June 30, 1971, is granted in part and the judgment of the District Court as it pertains to elementary schools is vacated and the cause is remanded with direction that the District Court require the School Board forthwith1 to constitute and implement a student assignment plan for elementary schools which complies with the principles established in Swann v. Charlotte-Mecklenberg Board of Education, 402 U.S. 1, 91 S.Ct. 1267, 28 L.Ed.2d 554 (1971), insofar as they relate to the issues presented in this case.
    
    
      2
      The District Court shall require the School Board to file semi-annual reports during the school year similar to those required in United States v. Hinds County School Board, 5 Cir., 1970, 433 F.2d 611, 618.  Also, the District Court shall require the School board to announce and implement the provisions for desegregation of faculty and staff as set out in Singleton v. Jackson Municipal Separate School District, 5 Cir., 1970, 419 F.2d 1211.
    
    
      3
      Vacated and remanded with direction.
    
    
      
        1
         Alexander v. Holmes County Bd. of Educ., 396 U.S. 19, 90 S.Ct. 29, 24 L.Ed.2d 19 (1969)
      
    
    